In re

Case 22-11549-mkn Doc16 Entered 07/05/22 11:18:12 Pageiof1

AMENDED

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

) Case No. BK-S 22-11549-MKN
)

CHARLES RANDALL ) (X) AMENDED Report of Trustee at 341 Meeting
LAZER ) (X) Initial Report of Trustee in Asset Case

) ( ) Trustee’s Report of No Distribution in No Asset Case
) ( ) Debtor’s Change of Address

 

(x)

(x)

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REPORT OF TRUSTEE AT 341 MEETING
1. Date of Meeting

2. (X) Meeting concluded

3. ( ) Meeting continued to

INITIAL REPORT OF TRUSTEE IN ASSET CASE

1. (X) The trustee has found assets in this estate to be administered for the benefit of creditors, or
believes there is a substantial likelihood that such assets will be recovered within a reasonable
period of time.

2. (X) Trustee requests a Notice to File Claims be sent.

TRUSTEE’S REPORT OF NO DISTRIBUTION IN No ASSET CASE

Finding of No Assets. As the trustee of the estate of the above-named debtor(s), I report that I
have neither received any property nor paid any money on account of this estate except exempt
property; that I have made a diligent inquiry into the financial affairs of the debtor(s) and the
location of the property belonging to the estate; and there is no property available for distribution
from the estate over that exempted by law.

Pursuant to FRBP 5009, I certify that the estate of the above-named debtor(s) has been fully
administered.

I request that this report be approved, and that I be discharged from any further duties as trustee.

DEBTOR’S CHANGE OF ADDRESS:

Date: July 5, 2022 /s/ Lenard E. Schwartzer

 

LENARD E. SCHWARTZER
